                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 NO: 3:05CR281

UNITED STATES OF AMERICA,                 )
          Plaintiff                       )
                                          )
vs.                                       )                            ORDER
                                          )
ELTON RODRIGUEZ,                          )
            Defendant.                    )
                                          )
_________________________________________ )

       THIS MATTER IS BEFORE THE COURT on the “Motion to Bar the Imposition of the

Death Penalty” (Document No. 37), filed November 10, 2005 by Elton Rodriguez. On December

1, 2005, Keith Cave, an Assistant United States Attorney, informed the undersigned’s staff that the

United States of America does not intend to seek the death penalty in this matter. Accordingly, this

Court will deny the Motion as moot.

       IT IS, THEREFORE, ORDERED that the “Motion to Bar the Imposition of the Death

Penalty” (Document No. 37) is DENIED AS MOOT.




    Case 3:05-cr-00281-GCM-DCK             Document 45        Filed 12/01/05      Page 1 of 2
                      Signed: December 1, 2005




Case 3:05-cr-00281-GCM-DCK   Document 45    Filed 12/01/05   Page 2 of 2
